                   IN THE UNITED STATE DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

GRAHAM YATES and BECKY       )
YATES,                       )
                             )
                 Plaintiffs, )
                             )
                                  Civil Action No. 5:12-cv-00752-FL
      v.                     )
                             )
AIR & LIQUID SYSTEMS         )
CORPORATION, et al.,         )
                             )
                 Defendants. )
   PROPOSED ORDER GRANTING FORD’S MOTION TO STRIKE, MOTION TO
         QUASH OR ENTER PROTECTIVE ORDER, AND MOTION FOR
                 RECONSIDERATION OF ORDER AT D.E. 423
       This matter having come before the Court on Ford’s Motion to Strike, Motion to Quash

or Enter Protective Order, and Motion for Reconsideration of Order at D.E. 423 (D.E. ___) and

for the reasons set forth in Ford’s Memorandum in Support (D.E. ___), the Court finds that there

is good cause to strike Plaintiffs’ amended pre-trial disclosures, and to quash and enter a

protective order against Plaintiffs’ subpoenas to Dennis Paustenbach, Richard Schlenker, Mark

Garavaglia, and Patrick Sheehan.

       THEREFORE it is hereby ORDERED that Ford’s Motion is granted and Plaintiffs’

amended pre-trial disclosures are hereby stricken and Plaintiffs’ subpoenas to Dennis

Paustenbach, Richard Schlenker, Mark Garavaglia, and Patrick Sheehan are hereby quashed and

subject to a protective order excusing compliance with these subpoenas.

        This the ____ day of June, 2015.
                                           _____________________________________________
                                                    LOUISE W. FLANAGAN
                                                    United States District Judge



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